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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
                v.                            :       Case No. 22-mj-22
                                              :
ILYA LICHTENSTEIN, and                        :
                                              :
HEATHER MORGAN,                               :
                                              :
                Defendants.                   :

                   UNOPPOSED MOTION FOR STATUS HEARING
                 AND TO EXCLUDE TIME UNDER SPEEDY TRIAL ACT

       The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully moves this Court to schedule a status hearing on or before March 18,

2022, and to exclude time under the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) from

February 17, 2022 until the date of the next status hearing in this case on or before March 18, 2022.

In support whereof, the government states as follows:

       1.       The defendants were charged by criminal complaint on February 7, 2022 on charges

of Money Laundering Conspiracy, in violation of 18 U.S.C. § 1956(h), and Conspiracy To Defraud

the United States, in violation of 18 U.S.C. § 371. The defendants were arrested on February 8,

2022 and presented for an Initial Appearance and Detention Hearing before a Magistrate Judge in

the Southern District of New York on the same date. Further on February 8, 2022, the government

appealed the release order issued by the Magistrate Judge in the Southern District of New York

pursuant to 18 U.S.C. § 3145(a), and a stay was issued by Chief Judge Howell in this District.

Further detention proceedings were held before Chief Judge Howell on February 14, 2022, upon

the conclusion of which Chief Judge Howell affirmed in part and overruled in part the decision of

the Magistrate Judge in the Southern District of New York.
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       2.       A Preliminary Hearing is currently scheduled in the Southern District of New York

on February 22, 2022. The defendants have not yet been presented before this Court for an Initial

Appearance.

       3.       The parties have agreed to seek a 30-day continuance of the Preliminary Hearing

in the Southern District of New York, and a corresponding continuance of proceedings in this

Court following any Initial Appearance. The government anticipates that discovery in this case

will be voluminous and complex.

       4.       The government moves, pursuant to 18 U.S.C. § 3161(h)(7)(A), to exclude time

under the Speedy Trial Act in the interests of justice from February 17, 2022 until the date of the

next status hearing in this case on or before March 18, 2022. This additional period is necessary

to allow the defendants to review discovery in the case, and to allow the parties to engage in

discussions of possible resolutions short of trial. Therefore, the government respectfully submits

that the ends of justice served by such exclusion would outweigh the best interest of the public and

the defendant in a speedy trial.

       5.       Counsel for the government has conferred with defense counsel regarding this

motion. The defendants do not oppose the motion and waive their rights under the Speedy Trial

Act.

       WHEREFORE, the government respectfully moves to schedule a status hearing in this case

on or before March 18, 2022, and that the time from February 17, 2022 until the date of the next

status hearing in this case on or before March 18, 2022 be excluded from computation under the

Speedy Trial Act.




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                           Respectfully submitted,

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